          Case 4:20-cv-05381-HSG Document 76 Filed 08/31/21 Page 1 of 3




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16                              UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
18                                            OAKLAND
19    JH KELLY, LLC
                                                        Case No. 4:20-cv-05381-HSG (Lead
20                               Plaintiff,             Case)
21          vs.                                         (Reference withdrawn from Bankruptcy
                                                        Case No. 19-30088, Adv. Proc. No. 20-
22    AECOM TECHNICAL SERVICES, INC., et al.            03019 and Adv. Proc. No. 19-03008)
23                               Defendant.
                                                        (Consolidated with Case No. 3:20-cv-
24                                                      08463-EMC)

25                                                  ORDER ON STIPULATED
                                                    REQUEST TO MODIFY BRIEFING
26                                                  SCHEDULE ON PG&E’S MOTION
                                                    TO
27                                                  DISMISS/STRIKE RE: AECOM’S
                                                    SECOND AMENDED COUNTER-
28                                                  CLAIM [DKT NO. 67]

        ORDER ON STIPULATED REQUEST TO MODIFY BRIEFING SCHEDULE
                                       -1-
         Case 4:20-cv-05381-HSG Document 76 Filed 08/31/21 Page 2 of 3




1              Pursuant to Civil L.R. 6-2, AECOM Technical Services (“AECOM”), and Pacific Gas and

2    Electric Company (“PG&E”) (collectively, the “Parties”) jointly seek an order of the Court to

3    modify the briefing schedule for PG&E’s Motion to Dismiss/Strike re: AECOM’s Second

4    Amended Counterclaim.

5              The Parties, through their respective counsel, stipulate as follows:

6              WHEREAS, on August 10, 2021, PG&E filed its Motion to Dismiss/Strike re: AECOM’s

7    Second Amended Counterclaim [Dkt. No. 67], setting a hearing date of November 18, 2021;

8              WHEREAS, on August 17, 2021, the hearing date of PG&E’s Motion to Dismiss/Strike re:

9    AECOM’s Second Amended Counterclaim [Dkt. No. 67] was reset to November 4, 2021;

10             WHEREAS, per the Federal Rules of Civil Procedure, the last day for AECOM to file

11   AECOM’s Response to PG&E’s Motion to Dismiss/Strike re: AECOM’s Second Amended

12   Counterclaim is August 23, 2021;

13             WHEREAS, per the Federal Rules of Civil Procedure, the last day for PG&E to file

14   PG&E’s Reply to AECOM’s Response to PG&E’s Motion to Dismiss/Strike re: AECOM’s

15   Second Amended Counterclaim is August 30, 2021;

16             WHEREAS, the Parties wish to focus their time and resources on discovery and

17   depositions in the coming months;

18             WHEREAS, there have been no previous time modifications in this case related to
19   PG&E’s Motion to Dismiss/Strike re: AECOM’s Second Amended Counterclaim, but there have

20   been three (3) other brief time modifications in the case by stipulation of the Parties;

21             WHEREAS, the reason for requesting the enlargement of time related to PG&E’s Motion

22   to Dismiss/Strike re: AECOM’s Second Amended Counterclaim is so that the Parties may

23   conserve resources and time to focus on key depositions of witnesses related to the Parties’

24   claims;

25             WHEREAS, the requested time modification will not impact the schedule for the case.

26             NOW THEREFORE, in consideration of the foregoing, the Parties, by and through their

27   respective counsel, hereby STIPULATE and AGREE as follows:

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                 ORDER ON STIPULATED REQUEST TO MODIFY BRIEFING SCHEDULE
                                           -2-
         Case 4:20-cv-05381-HSG Document 76 Filed 08/31/21 Page 3 of 3




1            1. AECOM’s deadline to file its Response to PG&E’s Motion to Dismiss/Strike re:

2    AECOM’s Second Amended Counterclaim is continued from August 23, 2021 to September 17,

3    2021;

4            2. PG&E’s deadline to file its Reply to AECOM’s Response to PG&E’s Motion to

5    Dismiss is continued from August 30, 2021 to October 1, 2021;

6            3. The hearing date for PG&E’s Motion to Dismiss shall remain on November 4, 2021.

7            4. By entering into this Stipulation, the Parties do not waive, and expressly preserve any

8    and all rights and defenses.

9

10   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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12   DATED: 8/31/2021

13                                                       By:
                                                                 HAYWOOD S. GILLIAM, JR.
14                                                               United Stated District Judge

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       ORDER ON STIPULATED REQUEST TO MODIFY BRIEFING SCHEDULE
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